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                 IN THE UNITED STATES DISTRICT COURT

                    FOR THE DISTRICT OF NEW JERSEY

                                        :
   ANTHONY GERVASIO, MICHAEL            :
   DINSE, JAMES CLOUD and               : Case No. 3:17-cv-00245 (PGS)(DEA)
   CHRISTOPHER CARMANY Individually :
   and on Behalf of All Other Persons   :
   Similarly Situated,                  :
                            Plaintiffs, :
                                        :
                       v.               :
                                        :
   WAWA, INC.,                          :
                                        :
                            Defendant.  :


     PLAINTIFFS’ MEMORANDUM OF LAW IN SUPPORT OF THEIR
   UNOPPOSED MOTION FOR FINAL APPROVAL OF THE COLLECTIVE
      ACTION SETTLEMENT, FOR AN AWARD OF EXPENSES AND
     ATTORNEYS’ FEES, AND FOR APPROVAL OF ENHANCEMENT
          AWARDS AND PAYMENT OF SETTLEMENT COSTS

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            This Fair Labor Standards Act (“FLSA”) lawsuit has been settled, and

   originating Plaintiffs Anthony Gervasio, Michael Dinse, James Cloud and

   Christopher Carmany,1 along with the other Opt-in Plaintiffs who are current

   and/or former Assistant General Managers (hereinafter collectively “AGMs”),

   employed by Defendant Wawa, Inc., (“Wawa”) who have joined this case

   (collectively “Plaintiffs”), submit this brief in support of their motion for judicial

   approval of the settlement with Wawa. Plaintiffs submit that this is a favorable

   result particularly in light of the claims, which due to reclassification of the AGM

   position were capped on December 28, 2015. The fully executed “Joint Stipulation

   of Settlement and Release” (“Agreement”) is attached to Plaintiffs’ approval

   motion. As discussed herein, the Agreement should be approved under the FLSA

   because it is a fair and reasonable resolution of a bona fide dispute between the

   parties.

   I.       BACKGROUND

              This is a case for unpaid overtime based on the allegation that Wawa

       Assistant General Managers (“AGMs”) were misclassified as exempt. Plaintiffs

       are current and former Wawa AGMs.

            Had Wawa not agreed to settle, Plaintiffs faced substantial and real litigation

   risk. The parties would have disagreed about the proper method for calculating


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       Named Plaintiff Richard Bongiovanni withdrew from this action.
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   damages, the inputs to the calculation (namely, the average number of hours

   worked and whether Defendants would have been eligible for a fluctuating work

   week analysis), and whether Wawa acted willfully or in good faith (which could

   extend the limitations period from two years to three years and impose liquidated

   damages). Wawa would have opposed class certification of the state law classes

   and would have made an application for decertification of the conditionally

   certified FLSA Collective, and it likely would have moved for summary judgment

   as well. If Plaintiffs proceeded to trial, they might not have prevailed. In the last

   ten years, three of the five managerial misclassification collective actions that have

   proceeded to trial have been won by the employers. And even if Plaintiffs were to

   prevail at trial, there is little doubt that they would face post-trial motions and

   appeals.

         District Judge Jones of the Middle District of Pennsylvania captured this

   point in approving a hybrid FLSA retail manager misclassification case settlement

   when he wrote, “[i]t is undisputed that copious risks abound with respect to

   maintaining this action and establishing liability.” Craig v. Rite Aid Corp., 2013

   WL 84928, at *9 (M.D.Pa. Jan. 7, 2013).

         As stated in the Agreement, Defendant denies any wrongdoing and

   continues to assert that, absent this settlement, they ultimately would prevail in the

   Action. See Agreement (Ex. A) at 9 ¶ VI. Absent settlement, however, Plaintiffs


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   would have faced certain litigation risks both factual and legal. The most

   prominent of these are summarized below:

         First, absent settlement, Defendant will vigorously assert that the FLSA

   claim is covered by a two-year limitations period rather than the three-year period

   encompassed in the settlement. The FLSA provides a two-year statute of

   limitations; but, a three-year limitations period will apply to “a cause of action

   arising out of a willful violation.” 29 U.S.C. § 255(a). To obtain a three-year

   statute of limitations, plaintiff must establish that the employer’s conduct was

   willful. See McLaughlin v. Richland Shoe Co., 486 U.S. 128, 135 (1998). An

   employer’s conduct is willful if “the employer either knew or showed reckless

   disregard for the matter of whether its conduct was prohibited by statute.” Id. at

   133. In this Circuit to prove a willful violation, an employee must show that the

   employer actually knew of the specific FLSA requirement at issue at the time of

   the violation and intentionally did not comply with it. Souryavong v. Lackawanna

   Cty., 2017 WL 4159604 (3d Cir. 2017).

         The practical effect of the FLSA two-year statute of limitations is that, even

   if Plaintiffs succeed on the merits of their claims, the vast majority of FLSA

   collective action members would be barred from recovering any damages absent a

   showing of willfulness. That is because all but approximately nine FLSA collective

   action members opted-into the action long after December 28, 2017 more than two


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   years after Wawa reclassified AGMs to overtime eligible non-exempt employees.

   Thus, an unfavorable finding regarding willfulness could doom the claims of all but

   approximately nine AGMs.

         Second, Defendant would pursue decertification of the conditionally certified

   collective action. Plaintiffs disagree and believe the law is on their side. Rivet v.

   Office Depot, Inc., 207 F.Supp.3d 417, 432 (D.N.J. Sept. 13, 2016). However, this

   case is one of the hardest kinds of misclassification cases - an assistant manager case

   where the collective members were spread across the country and working under

   different supervisors - and, in general, more misclassification cases have been lost

   at trial than won.

         A. Pertinent Procedural History.

         On January 12, 2017, Plaintiffs initiated this case by filing a class and

   collective action complaint against Wawa alleging, on behalf of themselves and

   allegedly similarly situated AGMs who were employed by Defendant in the United

   States for Defendant’s alleged failure to pay their “AGMs” for all hours worked, and

   for its alleged misclassification of AGMs as exempt in violation of the Fair Labor

   Standards Act 29 U.S.C. §§ 201 et seq. (“FLSA”), the New Jersey State Wage and

   Hour Law, N.J.S.A. §§34:11-56(a), et seq. (“NJWHL”), the Pennsylvania Minimum

   Wage Act (“PMWA”), 43 P.S. §§ 333.101, et seq., the Maryland Wage and Hour

   Law, MD. Lab. & Empl. Code §§ 3-401, et. seq. (“MWHL”), and the Maryland


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   Wage Payment and Collection Law, MD. Lab. & Empl. Code §§ 3-501, 3-502, 3-

   505, 3-507.2(b), et. seq. (“MWPCL”). Dkt. No. 1,10.2

            On April 21, 2017, Plaintiffs amended their complaint (see Dkt. No. 10) and

   on May 5, 2017 Wawa answered. Dkt. No. 14. Defendant changed the classification

   of AGMs on December 28, 2015. Defendant changed the position to a non-exempt

   (or overtime eligible) position, which resulted in claims that uniformly diminished

   over time for the entire putative collective. In a FLSA collective action, the statute

   of limitations for each plaintiff runs until he or she files written consent with the

   court electing to join the lawsuit, not when the named plaintiff files the complaint.

   In FLSA cases, employees’ claims continue to “die daily” until the plaintiff opts into

   the action. Hoffman v. Sbarro, Inc. 982 F. Supp. 249, 260 (S.D.N.Y. 1997)

   (Sotomayer, J.). Plaintiffs moved for tolling ores tenus, or in the alternative for the

   ability to brief the issue of tolling at the initial pretrial conference before Judge

   Arpert on June 15, 2017. See Dkt. No. 18, 22. Plaintiffs sought tolling to stop the

   potential Opt-ins’ FLSA claims from expiring prior to their receiving notice of this

   lawsuit. Judge Arpert granted Plaintiffs’ application to file a motion, but following

   briefing ultimately denied Plaintiffs’ tolling application. The parties conducted

   discovery concerning conditional certification issues and on October 2, 2017,

   Plaintiffs filed their motion for conditional certification. Dkt. No. 37. In their


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       The Complaint was later amended on April 21, 2017.
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   motion, Plaintiffs requested that the Court send notice to the following FLSA

   collective: “all AGMs employed by Defendant Wawa, Inc., . . . throughout the

   United States at any time from January 12, 2014, to December 28, 2015. . . who were

   classified as exempt employees.” Dkt. No. 37 at 6. On October 2, 2017 Defendant

   made a motion to compel which on October 27, 2018 was denied without prejudice,

   pending a decision on Plaintiffs’ conditional certification. Dkt. No. 42. On January

   11, 2018 the Court granted Plaintiffs’ motion to conditionally certify the FLSA

   Collective. Dkt. No. 24.

          The Court-authorized notice provided that if an individual elected to join the

   Action, he or she would be “bound by and share in any ruling, settlement or

   judgment, favorable or unfavorable” and that he or she “designate[d] the named

   Plaintiffs as [his or her] representatives, and to the fullest extent possible, [he or she]

   designate[ed] the named Plaintiffs and their Counsel to make decisions on [his or

   her] behalf concerning the case, the method and manner of conducting the case, and

   all other matters pertaining to the lawsuit. Decisions made and agreements entered

   into by Plaintiffs relating to this lawsuit will be binding [] if [he or she] join[ed] the

   lawsuit.” Dkt. No. 51-3. In addition, in the consent forms retuned by the Opt-In

   Plaintiffs they agreed that “[b]y signing and returning this consent form, I designate

   Hepworth, Gershbaum & Roth, PLLC and The Law Offices of Joseph Monaco, P.C.,

   (“the Firms”) to represent me and make decisions on my behalf concerning the


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   litigation and any settlement.” They also agreed, “to be bound by any adjudication

   of this action by a court, whether it is favorable or unfavorable.” On February 1,

   2018, Plaintiffs’ Counsel sent the Court-authorized notice to approximately 1,040

   current and former AGMs. Approximately 333 AGMs joined the action by signing

   and filing a Notice of Filing of Consent to Join Form (“Opt-In Plaintiffs”). At the

   end of the notice process, a total of three-hundred twenty-eight (328) Wawa AGMs,

   had opted-in to this litigation. See Dkt. No. 1, 28-29, 52-57, 59-89, 92-93, 95, 98.

   The parties did not pursue discovery on the potential state law claims or brief the

   question of class certification at any time.

         The parties then asked that this case be stayed to allow the parties to mediate

   the claims of the now ascertained FLSA Collective. Dkt. No. 90. The Court granted

   a stay and the parties mediated with Hon. Diane M. Welsh. See Dkt. No. 91. Hon.

   Diane M. Welsh is a retired judge who is now a nationally well-regarded mediator

   experienced in class and collective actions.

         Following a full day of mediation with the assistance of Judge Welsh, the

   parties reached an agreement in principle to settle this case for the 328 AGMs who

   were part of the FLSA collective. See Declaration (Ex. D) ¶ 12. At the mediation

   and prior to it each party performed a detailed analysis of the discovery exchanged

   related to both merits and certification issues. Settlement discussions occurred

   after the exchange of relevant payroll data so that Plaintiffs were able to negotiate


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   before Judge Welsh with an appreciation of the alleged unpaid wages at issue. The

   parties then focused on drafting and executing the attached Agreement.

          B. The Settlement.

          If approved, the $1,400,000.00 settlement fund will be distributed as follows:

   (i) $892,640.00 will be paid to the 333 Plaintiffs, see Agreement (Ex. A) at 3 ¶ 14;

   12 ¶ 4, the named Plaintiffs Anthony Gervasio, Michael Dinse, James Cloud and

   Christopher Carmany will each receive (ii) a $5,000.00 service award (in addition to

   their Settlement Share); and Opt-ins Eric Romolini, Joeseph Fitzgerald, and Thomas

   Watkins will each be paid (iii) a $1,000.00 as service award, id. at 9 ¶ VII; (iv)

   approximately $17,694.00 to the third-party settlement administrator retained to

   administer the settlement; and (v) $466,666.66 will be paid to Plaintiffs’ counsel for

   attorney’s fees and costs incurred, id. at 9 ¶ VII; 3-4 ¶ 14.3

          The proposed payments to Plaintiffs under the settlement represent a fair and

   appropriate value based upon litigation risks and the full value of their claims as

   calculated by Plaintiffs’ counsel. The average settlement amount for each Opt-In

   Plaintiff is $4,268.29, which is allocated based on the following formula: (i) each

   Named Plaintiff and Opt-In Plaintiff receives on average $86.74 per week, (ii)

   multiplied by the number of qualifying workweeks each Plaintiff has in the action.



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    Any disapproved portion of the requested service award, fees, or expenses will revert to
   Defendant. See id. at 9 § VII.
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         In consideration for the above payments, the Federal Release Opt-Ins

   Plaintiffs defined in the Agreement (see Agreement at 15-16 § 3) release Wawa from

   “all overtime and other wage claims, obligations, causes of action, actions, demands,

   rights, and liabilities, whether known or unknown, whether anticipated or

   unanticipated, under the FLSA, 29 U.S.C. § 201, et seq., arising prior to December

   28, 2015, that: (a) were pled in the Action at any time; and/or (b) could have been

   pled based on the factual allegations in the Action, including all claims based on

   alleged failure to pay any type of straight time, overtime wages or any other wages.”

   Id. The release for the Federal and State Release Opt-In Plaintiffs is substantially

   similar but also releases the state law claims pled in Plaintiffs’ Complaint for

   Plaintiffs who worked in states for which Plaintiffs had pled state law claims. Id.


   II.   ARGUMENT
         A. A One-Step Approval Process Is Standard for FLSA Settlements.

         In the Third Circuit and throughout the country, a one-step approval process

   is appropriate in FLSA Opt-In settlements that do not include Rule 23 opt-out

   classes. Section 216(b) collective actions such as this do not implicate the same due

   process concerns as Rule 23 class actions because they require workers to

   affirmatively opt in to the litigation and do not bind absent class members who have

   not affirmatively consented to assert their claims. Genesis Healthcare Corp. v.

   Symczyk, 133 S. Ct. 1523, 1529 (2013) (“Rule 23 actions are fundamentally different


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   from collective actions under the FLSA.”). Under the FLSA, “parties may elect to

   opt in but a failure to do so does not prevent them from bringing their own suits at a

   later date.” McKenna v. Champion Int’l Corp., 747 F.2d 1211, 1213 (8th Cir. 1984),

   abrogated on other grounds by Hoffman-La Roche Inc. v. Sperling, 493 U.S. 165

   (1989). Accordingly, courts do not apply the exacting standards for approval of a

   class action settlement under Rule 23 to FLSA settlements. See, e.g., Beckman v.

   KeyBank, N.A., 293 F.R.D. 467, 476 (S.D.N.Y. 2013); Woods v. N.Y. Life Ins. Co.,

   686 F.2d 578, 579-80 (7th Cir. 1982) (due process concerns present in Rule 23 class

   actions are not present in FLSA collective actions). There is no need to require that

   the settlement provide for opt-outs or objections where individuals are not part of

   the settlement unless they affirmatively decide to participate, thus, the Court does

   not assume the same ‘fiduciary’ role to protect absent class members as it would

   under Rule 23 when assessing a proposed settlement resolving FLSA claims”, the

   high standard for approval of a class action settlement under Rule 23 does not apply

   to an FLSA settlement. Bredbenner v. Liberty Travel, Inc., 2011 WL 1344745, at *1

   (D.N.J. April 8, 2011); see, e.g., Ornelas, et al. v. Hooper Holmes, Inc., et al., 3:12-

   cv-3106, Dkt. No. 89 (D.N.J. Aug. 5, 2016) (Arpert, M.J.); Krstic, et al. v. J.R.

   Contracting & Environmental Consulting, et al., 3:09-cv-02459, Dkt. No. 92 (D.N.J.

   March 1, 2013)(Arpert, M.J.); see also Castillo v. Noodles & Co., No. 16-CV-03036,

   2016 WL 7451626, at *1 (N.D. Ill. Dec. 23, 2016)(implementing a one-step approval


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   process for a FLSA Collective settlement); Prena v. BMO Fin. Corp., No. 15 C

   09175, 2015 WL 2344949, at *1 (N.D. Ill. May 15, 2015) )(implementing a one-step

   approval process for a FLSA Collective settlement); Lauture v. A.C. Moore Arts &

   Crafts, Inc., No. 17-CV-10219-JGD, 2017 WL 6460244, at *1 (D. Mass. June 8,

   2017))(implementing a one-step approval process for a FLSA Collective

   settlement); Bozak v. Fedex Ground Package Sys., Inc., No. 11 Civ. 738, 2014 WL

   3778211 (D. Conn. July 31, 2014); Dixon v. Zabka, No. 11 Civ. 982, 2013 WL

   2391473 (D. Conn. May 23, 2013); Powell v. Lakeside Behavioral Healthcare, Inc.,

   No. 11 Civ. 719, 2011 WL 5855516 (M.D. Fla. Nov. 22, 2011).

         Here, each of the settling Plaintiffs affirmatively agreed to assert his or her

   claims in this action and to bind himself/herself to the decisions made by Collective

   Counsel on their behalf. This Court has held that it should review a FLSA collective

   action settlement to ensure it “is a fair and reasonable resolution of a bona fide

   dispute over FLSA provisions.” Lynn’s Food Stores, Inc. v. United States, 679 F.2d

   1350, 1354-1355 (11th Cir. 1982); Brumley v. Camin Cargo Control, Inc., 2012 WL

   1019337, at *4 (D.N.J. March 26, 2012); Brown v. TrueBlue, Inc., 2013 WL

   5408575, at *2 (M.D.Pa. Sept. 25, 2013). Once satisfied that a bona fide dispute

   exists between the parties, the Court must make the second determination of whether

   the settlement is fair and reasonable and does not frustrate the implementation of the

   FLSA in the workplace. Singleton v. First Student Management LLC, 2014 WL


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   3865853, at *9 (D.N.J. Aug. 6, 2014); Brumley, 2012 WL 1019337, at *4; Davis v.

   Essex County, 2015 WL 7761062, at *2 (D.N.J. Dec. 1, 2015). As discussed below,

   the Agreement satisfies each of these elements and warrants the Court’s approval.

         Although the Third Circuit Court of Appeals has never specifically addressed

   the standards to be applied in evaluating the fairness of an FLSA settlement, Courts

   in this District engage in a three-part analysis:

         First, the court must determine the settlement concerns a bona fide
         dispute. Second, the court must determine the settlement is fair and
         reasonable . . . [a]nd, third, the court must determine the agreement does
         not frustrate the implementation of the FLSA in the workplace.

   Davis v. Essex County, 2015 WL 7761062, at *2 (D.N.J. Dec. 1, 2015).

         1.     The settlement resolves a bona fide dispute.

         As discussed above, despite this settlement, Defendant continues to deny any

   wrongdoing and asserts that it would ultimately prevail if this case had not been

   resolved. An employer’s continued denial of liability in a settlement agreement

   represents sufficient evidence of a bona fide dispute. See Howard, 197 F. Supp. 3d

   at 778. Furthermore, as outlined in section B, supra, there are several factual and

   legal arguments would have persisted through discovery and dispositive motion

   practice had this case not been resolved with the assistance of Judge Walsh. As one

   district court observed, the adversarial nature of contested litigation in FLSA matters




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   is also evidence of a bona fide dispute between the parties. deMunecas v. Bold Food,

   LLC, 2010 WL 3322580, at *7 (S.D.N.Y. Aug. 23, 2010).

         Typically, courts regard the adversarial nature of a litigated FLSA case to be

   an adequate indicator of the fairness of the settlement. Lynn’s Food Stores, 679 F.2d

   at 1353-54; Bredbenner, 2011 WL 1344745, *18; Clark v. Ecolab Inc., Nos. 07-

   8623, 04-4488, 06-5672, 2010 WL 1948198, *7 (S.D.N.Y. May 11, 2010). If the

   proposed settlement reflects a reasonable compromise over contested issues, the

   court should approve the settlement. Id.; see also, Castagna v. Madison Square

   Garden, L.P., No. 09-10211, 2011 WL 2208614, *4 (S.D.N.Y. June 7, 2011)

   (“Absent fraud or collusion, [courts] should be hesitant to substitute [their] judgment

   for that of the parties who negotiated the settlement.”); see also Bettger v.

   Crossmark, Inc., 2015 WL 279754, at *4 (M.D. Pa. Jan. 22, 2015) (“An agreement

   resolves a bona fide dispute when there is some doubt as to whether the plaintiff

   would succeed on the merits at trial.”). It is also telling that the parties required an

   experience collective action mediator to resolve this case at arms-length due to the

   many disputed legal and factual issues.

         Thus, the bona fide dispute factor is satisfied here.

   2.    The agreement is “fair and reasonable.”

         The Court has a duty to “determine whether the proposed settlement is a fair

   and reasonable resolution of a bona fide dispute over FLSA provisions.” Davis v.

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   Essex County, 2015 WL 7761062, at *2 (D.N.J. Dec. 1, 2015). Courts approve wage

   and hour settlements that are reached as a result of contested litigation to resolve

   bona fide disputes. If the proposed settlement reflects a reasonable compromise over

   contested issues, the court should approve the settlement. Lynn’s Food Stores, 679

   F.2d at 1354. “It is a well settled principle that the law generally encourages

   settlements.” Dawson v. Pastrick, 600 F.2d 70, 75 (7th Cir. 1979).

         The settlement in this case easily meets the standard for approval. The

   settlement was the result of pre-suit investigation, extensive litigation focused

   discovery, production to Plaintiffs of all relevant pay and hours data for all 328

   Plaintiffs, and substantial arm’s-length negotiations. Hepworth Decl. ¶¶ 16, 17.

   Recognizing the uncertain legal and factual issues involved, the Parties reached this

   settlement pending before the Court after private mediation before an experienced

   mediator. Id. ¶ 15. The settlement amount of $1,400,000.00 is favorable, especially

   in light of the considerable risk that Plaintiffs face as well as the size of Plaintiffs

   and the Opt-In Plaintiffs Claims, which ceased accruing (for currently employed

   AGMs) when Defendant reclassified the position.

         First, after attorneys’ fees, service awards, and costs, including settlement

   administration costs, are deducted, each Opt-in will receive on average

   approximately $2,719.00, while before those deductions the average award is

   $4,268.29. However, by Defendant’s estimate, even if Plaintiffs were to establish at


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   trial that AGMs should have been classified as non-exempt, there is a substantial

   risk that if the issue of willfulness was not found in Plaintiffs’ favor that the number

   of individuals compensated for claimed overtime violations will be drastically

   smaller than the number of Plaintiffs and Opt-ins receiving compensation under the

   parties’ current agreement.

         Second, there was a risk that Plaintiffs would not successfully defend against

   a motion for decertification or in maintaining a collective through trial. Defendant

   would likely argue that the differences among various stores and other

   individualized questions would warrant decertification of a collective. Although

   Plaintiffs disagree, defendants in other cases have prevailed on such arguments. See,

   e.g., Zavala v. Wal Mart Stores Inc., 691 F.3d 527, 537–38 (3d Cir. 2012) (denying

   collective certification of assistant store manager claims); see also Beckman, 293

   F.R.D. at 480 (collecting misclassification cases where courts decertified FLSA

   collectives).

         Third, a trial on the merits would involve significant risks for Plaintiffs as to

   both liability and damages. The status of misclassification cases under the FLSA

   is highly contextual with facts pointing in both directions, and some cases

   supporting Defendant’s position. For example, in Aquilino v. Home Depot, U.S.A.,

   Inc., 2011 WL 564039, at *11–12 (D.N.J. Feb. 15, 2011), this Court granted

   decertification and found that there were substantial differences in the factual and


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   employment settings of Home Depot’s merchandising assistant store managers,

   that job responsibilities and duties varied from store to store, from shift to shift,

   and in some cases from subordinate employee to subordinate employee, which

   precluded the Court from finding any real uniformity among the plaintiffs and the

   opt–ins. Although Plaintiffs believe this case is distinguishable, Defendant would

   likely argue that similar to Aquilino the AGM position is too disparate for

   collective treatment. While Plaintiffs believe they could ultimately prove liability,

   this would require significant development, and declarations supporting

   Defendant’s opposition to certification introduced further risk by asserting a

   variety of exempt tasks contrary to Plaintiffs’ testimony.

         Absent settlement, this litigation would require significant additional

   discovery, including depositions of Opt-In Plaintiffs and other employees of Wawa

   such as its corporate representative(s) and the General Managers of the AGMs to

   address the defenses outlined in section 1, supra. This discovery would have been

   extremely time consuming and expensive for both sides. Thus, the avoidance of

   unnecessary expenditure of time and resources benefits all parties, and weighs in

   favor of approving the settlement.

         In resolving whether a settlement is fair and reasonable, the true question is

   whether, in light of these risks, Plaintiffs are getting good value. In this case

   Plaintiffs settlement represents a clearly fair and appropriate value. As already


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   discussed, this litigation carries significant litigation risks, making it possible that

   Plaintiffs could either lose this case or have their damages significantly

   diminished. See section 1, supra. Meanwhile, the settlement provides a very good

   and immediate result to the Plaintiffs covered by the settlement who will be

   receiving approximately $2,719.00 after reductions for the proposed attorney’s

   fees, costs and service awards. This amount which is substantial for the claims at

   issue, is even more so when the limited claims period, due to reclassification of the

   AGM period is considered. Using what Class Counsel believes to be a reasonable

   set of assumptions (Defendant disputes Plaintiffs could recover the high number)

   Plaintiffs contend that the value of the collective and class action AGM Claims

   presented in the case here would have ranged from less than $100,000.00 assuming

   that there was only a 2 year statute of limitations for the FLSA claims (at p.3 supra

   - noting only 9 AGMs would be within the 2 year FLSA statutory time period) and

   assuming that the claims would be limited to the FLSA claims only, to

   approximately $4,335,110.39 million (using the “time and one half” approach and

   a set of assumptions favorable to Plaintiffs – including a three-year limitations

   period for FLSA claims, as well as state law claims and using the punch data

   provided by the defendants that averaged out to approximately 47.5 hours a week –

   and no liquidated damages). Accounting for the risks already articulated that are

   inherent to this case, Plaintiffs’ Counsel believes that the settlement is reasonable


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   and fair.

   3.    The Settlement Does Not Frustrate the Implementation of the FLSA.

         In addition to being “fair and reasonable,” the settlement is free of any terms

   that would frustrate the implementation of the FLSA. The Agreement does not

   contain a broad confidentiality provision that would prevent the public filing of the

   Agreement thereby preventing the terms of this agreement from becoming known,

   as “courts have recognized [this] as antagonistic to the FLSA’s purposes.”

   Brumley v. Camin Cargo Control, Inc., No. 08–1798, 2012 WL 1019337, at *6

   (D.N.J. Mar. 26, 2012). In addition, while courts have recently rejected FLSA

   settlements containing general release language, see, e.g., Kraus v. PA Fit II, LLC,

   155 F.Supp.3d 516, 532–33 (E.D.Pa. Jan. 11, 2016); Bettger v. Crossmark, Inc.,

   2015 WL 279754, at *9 (M.D.Pa. Jan. 22, 2015), this settlement poses no such

   problem. Here, the release is far more narrow, covering only wage and hour

   claims for the limited time period at issue in the complaint. As such, the

   Agreement does not frustrate the FLSA.

                 B.           The Service Award Warrants Approval.

         Subject to Court approval, the named Plaintiffs Anthony Gervasio, Michael

   Dinse, James Cloud and Christopher Carmany will receive a $5,000.00 service

   award and Opt-Ins Plaintiffs Eric Romolini, Joeseph Fitzgerald, and Thomas

   Watkins will be paid $1,000.00 each as service awards. See Agreement (Ex. A) 9-

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   10 at ¶ VII. This award is in recognition of the named Plaintiffs’ courage to step

   forward and publically challenge Defendant’s compensation practices and seeking

   recovery on behalf of other AGMs. It is also in recognition of their active role in

   this litigation which included, inter alia, providing documents used in support of

   Plaintiffs’ conditional certification motion, providing discovery responses,

   consulting with Plaintiffs’ Counsel concerning the type of documentation

   maintained by Wawa, attending a deposition and reviewing the Agreement. The

   Opt-in Plaintiffs receiving service awards each sat for a deposition. The service

   award for these individuals is in recognition of their time and their provision of

   information essential to conditional certification of this action.

         As this Court has recognized, service awards are not uncommon in class or

   collective action litigation because they “reward the public service of contributing

   to the enforcement of mandatory laws.” Devlin v. Ferrandino & Son, Inc., 2016 WL

   7178338, at *11 (E.D.Pa. Dec. 9, 2016) (internal quotations omitted); see also

   Sullivan v. DB Invs., Inc., 667 F.3d 273, 333 n.65 (3d Cir. 2011) (“The purpose of

   these payments is to compensate named plaintiffs for the services they provided and

   the risks they incurred ruing the course of class action litigation, and to reward the

   public service of contributing to the enforcement of mandatory laws.”). In addition,

   courts have recognized named plaintiffs in class/collective litigation risk potential

   ramifications with not only their current employer, but also potentially with future


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   employers. See Scovil v. FedEx Ground Package Sys., 2014 WL 1057079, at *6–7

   (D. Me. Mar. 14, 2014) (“The reason commonly given for the higher awards in these

   cases is the fear and risk of retaliation and embarrassment in the workplace”);

   Massiah v. MetroPlus Health Plan, Inc., No. 11–cv–05669(BMC), 2012 WL

   5874655, *8 (E.D.N.Y. Nov. 20, 2012) (approving service awards of $5,000 each to

   two plaintiffs, noting that “[s]uch service awards are common in class action cases

   and are important to compensate plaintiffs for the time and effort expended in

   assisting the prosecution of the litigation, the risks incurred by becoming and

   continuing as a litigant, and any other burdens sustained by plaintiffs. Edelen v. Am.

   Residential Servs., LLC, No. CIV.A. DKC 11-2744, 2013 WL 3816986, at *16 (D.

   Md. July 22, 2013) (“although there is no indication that [the named plaintiff] faces

   any specific challenges in his current or future job prospects as a result of his

   participation in this lawsuit, there clearly is a risk that he could”). Thus, it is not

   unusual for initiating plaintiffs in employment lawsuits, such as this, to receive

   significant enhancement awards in recognition of their service to the entire

   class/collective. See In re Insurance Brokerage Antitrust Litig., 2007 WL 2916472

   at *8 (D.N.J. Oct 5, 2007) ($10,000 incentive award to each plaintiff, resulting in

   total payment of $250,000); Lazy Oil, 95 F. Supp. 2d at 345, 324-25 (incentive

   awards of $5,000 to $20,000 awarded); Godshall v. Franklin Mint Co., 2004 WL

   2745890 at *4 (E.D. Pa. Dec. 1, 2004) ($20,000 to each named plaintiff).


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         Here, the requested service awards are justified and extremely reasonable

   based on the named and Opt-In Plaintiffs efforts to achieve a recovery on behalf of

   the Opt-Ins. Thus, the proposed service award is appropriate and warrants approval.

         C.     The Request for Attorneys' Fees is Reasonable and Should be
                Approved.

         Counsel for the Collective seeks an award of attorneys’ fees and

   reimbursement of reasonable expenses in the amount of $466,666.66 (which is a fee

   of approximately 1/3% of the $1.4 million total settlement amount, less when

   considering that Plaintiffs incurred $46,329.10 in costs). Counsel submits that they

   are entitled to such reasonable attorneys’ fees and expenses to compensate them for

   their work in achieving this settlement on behalf of the collective. The determination

   of the fee is up to this Court and a reasonable method, often adopted by this circuit

   is the percentage-of-recovery with a lodestar cross check for a case such as this

   where a common fund is created for a class or collective. In re Gen. Motors Corp.

   Pick-Up Truck Fuel Tank Prods. Liab. Litig., 55 F.3d 768, 820-22 (3d Cir. 1995);

   Sullivan, 667 F.3d at 330 In re Warfarin Sodium Antitrust Litig., 212 F.R.D. 231,

   261 (D. Del. 2002) (Robinson, C.J.) (“In determining the fee award in a common-

   fund class action, the Third Circuit follows the percentage-of-the-recovery

   method.”).




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         The Third Circuit has identified several factors that a district court should

   consider in determining a common fund award of attorneys' fees. These factors

   include:


         (1) the size of the fund created and the number of persons benefitted; (2) the
         presence or absence of substantial objections by members of the class to the
         settlement terms and/or fees requested by counsel; (3) the skill and efficiency
         of the attorneys involved; (4) the complexity and duration of the litigation; (5)
         the risk of nonpayment; (6) the amount of time devoted to the case by
         plaintiff's counsel; and (7) the awards in similar cases.

   In re Rite Aid Corp. Sec. Litig., 396 F.3d 294,301 (3d Cir. 2005) (citing Gunter v.

   Ridgewood Energy Corp., 223 F.3d 190, 195 n.1 (3d Cir. 2000)). Each of these

   factors favors the requested award of attorneys' fees.


         1.     The Requested Fee is Reasonable as a Percentage of the Common
                Fund (Gunter Factor 1).

         First, the fund created by the Settlement is $1.4 million and the Collective

   consists of 328 individuals. As noted above, the average gross amount per each of

   the 328 Collective members eligible to share in the recovery is approximately

   $4,268.29, a particularly excellent amount, more than commensurate with other

   settlements of misclassification collective actions. Inasmuch as the result achieved

   is an important factor to be considered in assessing the propriety of an attorneys’ fee

   award, this settlement certainly meets this standard. Hensley v. Eckerhart, 461 U.S.

   424,436 (1983) (“the most critical factor is the degree of success obtained”). In


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   addition, counsel is well experienced in these kinds of cases, see Hepworth Decl. ¶

   2, Hepworth Decl., Ex. D; and believe that the settlement represents an excellent

   result. Accordingly, this factor is met. See In re Ikon Office Solutions Inc. Sec. Litig.,

   194 F.R.D. 166, 179 (E.D. Pa. 2000) (“[t]he most significant factor in this case is the

   quality of representation, as measured by ‘the quality of the result achieved, the

   difficulties faced, the speed and efficiency of the recovery, the standing, experience,

   and expertise of the counsel, the skill and professionalism with which counsel

   prosecuted the case and the performance and quality of opposing counsel.’”)

   (citation omitted).


   2. The Presence or Absence of Substantial Objections by Members of the
   Collective (Gunter Factor 2)

         Second, Collective members received notice of the Settlement terms from

   Plaintiffs’ Counsel, including of those terms setting out the amount of attorneys’ fees

   and maximum amount of the expenses sought. In anticipation of finalizing the

   settlement, Plaintiffs’ Counsel mailed out a letter detailing the settlement to all Opt-

   in Plaintiffs to explain the settlement and to give them the opportunity to weigh in

   on the settlement. There was not a single Opt-in that contacted us that did not want

   to participate in the settlement. In fact, Plaintiffs’ Counsel has spoken with or heard

   from approximately 78 Collective Members to date. No objections have been raised

   or filed to the requested amount of attorneys’ fees or expenses, or, indeed, to the

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   Settlement itself. Moreover, this number is inclusive of all costs, including those for

   filing, conducting 8 depositions, and sending notice to the putative collective

   following conditional certification all of which amounts to $46,329.10 in costs for

   which Plaintiffs are not seeking separate reimbursement from the settlement fund

   (the only cost not included are those associated the TPA’s administration of the

   settlement). “The fact that not a single objection has been filed to the Settlement . .

   . is strong evidence that counsel for the Class have achieved a very good result for

   the Class.” Lan v. Ludrof, 2008 WL 763763, at *23 (W.D. Pa. Mar. 21, 2008).

   Accordingly, this factor also favors the requested attorneys’ fee award. In re Rite

   Aid Corp. See. Litig., 396 F.3d at 305 (“The District Court did not abuse its discretion

   in finding the absence of substantial objections by class members to be the fee

   requests weighed in favor of approving the fee request."); Careccio v. BMW of N.

   Am. LLC, 2010 WL 1752347, at *7 (D.N.J. Apr. 29, 2010) (one of the “strong

   indicators” that a fee request was fair and reasonable was that “[n]one of the objector

   letters mentioned the fee award.”).

   3. The Skill and Efficiency of the Attorneys Involved and the Amount of Time
   Devoted to the Case (Gunter Factors 3 and 6)

         The FLSA Collective is represented by experienced counsel who have

   invested substantial time and resources into the prosecution of this litigation. See

   Hepworth Decl. ¶ 23. They have served as class counsel in numerous class and/or


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   collective actions, including many significant wage and hour misclassification cases

   involving retail managerial misclassifications. As importantly, they steered the case

   from inception through first-stage discovery, including successfully combatting a

   motion to compel, 8 depositions and contested conditional certification briefing,

   through the opt-in of 328 FLSA collective action participants. The case was then

   aggressively mediated by both sides to reach the settlement terms. Hepworth Decl.

   ¶ 16. Subsequently, the Settlement Agreement and its various exhibits had to be

   negotiated and finalized. That process took over two months and involved multiple

   conferences with the mediator. Id. Concurrent with that process Plaintiffs sent notice

   of the settlement to their clients and fielded inquiries and calls.

          For all of these reasons - which is a bare summary of what was done –

   Plaintiffs’ Counsel expended 1,254.25 hours of professional time for an aggregate

   lodestar of $786,154.25. Hepworth Decl. ¶ 23. The hours reported are reasonable for

   a case of this complexity and magnitude, the stage of the case and duration all of

   which were compiled from contemporaneous time records maintained by each

   attorney, paralegal, and support staff participating in the case. In addition, there is

   still work yet to be done that will be necessary to effectuate the administration of the

   Settlement which is recognized as necessary and compensable.4 Beckman v. Key

   4
    There will certainly be additional time that will be required to administer the Settlement in the
   future. See Hepworth Decl. ¶ 26. In Plaintiffs' Counsel's experience, administering settlements of this
   nature and size requires ongoing commitment. For example, FLSA Collective Members have already
   had questions regarding the Settlement, and, based upon experience, such calls will continue through
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   Bank, NA., 293 F.R.D. at 467, 482 (S.D.N.Y. 2013) (“Class Counsel is often called

   upon to perform work after the final approval hearing, including answering class

   member questions, answering questions from the claims administrator, and

   negotiating and sometimes litigating disagreements with defendants about

   administering the settlement and distributing the fund.”); Parker v. Jekyll & Hyde

   Entm't Holdings, L.L.C., No. 08 CIV. 7670 BSJJCF, 2010 WL 532960, at *2

   (S.D.N.Y. Feb. 9, 2010) (“[A]s class counsel is likely to expend significant effort in

   the future implementing the complex procedure agreed upon for collecting and

   distributing the settlement funds, the significant negative multiplier will diminish

   over time.”).

   4. The Complexity and Duration of the Litigation (Gunter Factor 4)

          Fourth, the duration of this litigation weighs in favor of the award of

   attorneys’ fees. Plaintiffs’ Counsel have vigorously worked on this case for about

   three years. The Settlement, reached upon a full and fair knowledge of the status

   of the claims and defenses in the case and the risks they posed saved a substantial

   amount of time that otherwise would have been spent on more discovery, motion

   practice, and pretrial activities. In short, “[t]he Settlement saves the parties




   and beyond final approval as they report lost checks and request new ones, raise questions about tax
   consequences and generally call for advice. Id. There will, in addition, also be time spent overseeing
   the finalization of the claims process. Id.
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   substantial time and money.” In re Datatec Sys., 2007 WL 4225828, at *7 (D.N.J.

   Nov. 28, 2007).

   5. The Risk of Nonpayment (Gunter Factor 5)

         The risk of nonpayment is significant. Counsel “undertook this action on a

   contingent fee basis, assuming a substantial risk that they might not be

   compensated for their efforts. Courts recognize the risk of non-payment as a factor

   in considering an award of attorneys' fees. Datatec, 2007 WL 4225828, at *7. This

   case was one of the hardest kinds of misclassification cases - an assistant manager

   case where the collective members were spread across the country and working

   under different supervisors - and, in general, more misclassification cases have

   been lost at trial than won. This case was entirely litigated on a contingency basis,

   with no guarantee of any payment of any sort. As Judge Jones wrote in approving

   a fee in another retail misclassification case, “concerning the risk of nonpayment,

   we note that because Class Counsel accepted this case on a contingent fee basis,

   the risk of nonpayment was and remained substantial throughout.” Craig v. Rite

   Aid Corp., No. 4:08-CV-2317, 2013 WL 84928, at *12 (M.D. Pa. Jan. 7, 2013).

   6. Awards in Similar Cases (Gunter Factor 6)

         The requested one third fee is commensurate and in line with multiple other

   settlements, particularly wage and hour cases within this Circuit. While there is no

   benchmark for fee awards in the Third Circuit there has been a “range of 19

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   percent to 45 percent of the settlement fund approved in other litigations.” In re

   Schering-Plough Corp. Enhance ERISA Litig., No. CIV. A. 08-1432 DMC, 2012

   WL 1964451, at *7 (D.N.J. May 31, 2012) (approving 33.3% fee in $12.25 million

   securities settlement); see In re Gen. Motors Corp. Pick-Up Truck Fuel Tank

   Prods. Liab. Litig., 55 F.3d at 822 (setting forth same range); see also In re Ikon

   Office Solutions, 194 F.R.D. at 194 (“Percentages awarded have varied

   considerably, but most fees appear to fall in the range of nineteen to forty-five

   percent”); In re Computron Software, Inc., 6. F. Supp. 2d 313, 322-23 (D.N.J.

   1998) (“There is no set standard, however, on how to determine a reasonable

   percentage. Awards utilizing the percentage-of recovery method can reasonably

   range from nineteen percent to forty-five percent of a settlement fund . . . . [T]he

   percentage awarded, should, and generally does, increase commensurate with

   increased quality of representation.”). Indeed, an award of one-third of the

   recovery is entirely in line with wage and hour settlements, including

   misclassification cases and retail misclassification cases within the Third Circuit.

         Indeed, an award of one-third of the recovery is entirely in line with wage

   and hour settlements, including misclassification cases and retail misclassification

   cases within the Third Circuit. See Creed, 2013 WL 5276109, at *6 (“an award of

   one-third of the settlement is consistent with similar settlements throughout the

   Third Circuit”); Craig, 2013 WL 84928, at *11–14 (one-third for fees and costs


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   reasonable and in line with precedents; citing cases; approving 32% fee award in

   $20.9 million retail misclassification settlement); Stallard v. Fifth Third Bank, slip

   op., No.2: 12-cv-01 092 (W.D. Pa. Feb. 25, 2015) (fee of one third of $3.25

   million).5 While this Court has not had an opportunity to award a fee in an FLSA

   collective action, it has awarded an attorney fee of one-third of the recovery in

   class actions and the same common benefit principles apply. See e.g. In re Tricor

   Direct Purchaser Antitrust Litig., 05-340-SLR (D. Del. Apr. 23,2009) (awarding

   one-third of $250 million settlement as fee); see also In re Metoprolol Succinate

   Antitrust Litig., 06-52 MPT (D. Del. Jan 12,2012) (attached as Exhibit E hereto).

         Finally, the Third Circuit courts also confirm the reasonableness of a

   percentage of the recovery awarded by cross-checking it with class counsel’s

   lodestar. In re Rite Aid Corp. Sec. Litig., 396 F.3d at 307. The lodestar analysis is

   performed by multiplying the number of hours reasonably worked on a client’s

   case by a reasonable hourly billing rate for such services based on the given


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    This is true in other courts as well. See, e.g., Flores v. Anjost Corp., 2014 U.S.
   Dist. LEXIS 11026, at *24-26 (S.D.N.Y. Jan. 29, 2014) (awarding 33 1/3% of
   $1,050,000 settlement); Guaman v. Ajna-Bar NYC" 2013 U.S. Dist. LEXIS 16206,
   at *17-18 (S.D.N.Y. Feb. 5, 2013) (one-third of $250,000 settlement in an FLSA
   and NYLL wage and hour restaurant case); Capsolas v. Pasta Res. Inc., 2012 U.S.
   Dist. LEXIS 144651 (S.D.N.Y. Oct. 5, 2012) (33.33% fee in $5.25 million
   settlement); Spicer v. Pier Sixty LLC, 2012 U.S. Dist. LEXIS 137409 (S.D.N.Y.
   Sept. 14, 2012) (33% fee in $8.5 million settlement); Alli v. Boston Mkt. Corp., 10-
   cv-0004, Order (D. Conn. Apr. 12,2012) (33.33% fee in $3 million settlement);
   deMunecas v. Bold Food, LLC, 2010 U.S. Dist. LEXIS 87644, at *19 (S.D.N.Y.
   Aug. 23, 2010) (33% fee in $729,000 settlement).
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   geographical area, the nature of the services provided, and the experience of the

   attorneys. Id. at 305. If the lodestar multiplier, which is equal to the proposed fee

   award divided by the product of the total hours and the billing rate, is large, the

   award calculated under the percentage-of-recovery method may be deemed

   reasonable, and the Court may consider reducing the award. Id. The lodestar

   multiplier, however, “need not fall within any pre-defined range, provided that the

   [d]istrict [c]ourt’s analysis justifies the award.” Id. at 307. The court is not required

   to scrutinize every billing record but may instead, rely on summaries submitted by

   the attorneys. Id. at 306-307. A multiplier of 1 to 4 times is often awarded in fee

   applications similar to the one herein. “Multiples ranging from one to four are

   frequently awarded in gross settlement fund cases when the lodestar method is

   applied.” In re Prudential Ins. Co. Am. Sales Practice Litig. Agent Actions, 148

   F.3d at 341 (quoting Herbert Newberg & Alba Conte, Newberg on Class Actions,

   §14.03 at 14-5 (3d ed. 1992)); In re Vicuron Pharms, Inc. Sec. Litig., 512 F. Supp.

   2d 279, 287 (E.D. Pa 2007); In re Rent-Way Sec. Litig., 305 F. Supp. 2d 491,517

   (W.D. Pa. 2003); In Re NASDAQ Market-Makers Antitrust Litig., 187 F.R.D.

   465,489 (S.D.N.Y. 1998)).

         Here, the Plaintiffs' Counsel's lodestar to date is $786,154.25. See Hepworth

   Decl. ¶ 23. Thus, the requested attorneys’ fees of $466,666.66, which is less than

   1/3 when accounting for the costs incurred by Plaintiffs’ counsel, results in a


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   negative multiplier, making the present fee request eminently reasonable. To date,

   Plaintiff’s counsel has a negative multiplier equal to approximately 59% of the

   legal fees incurred to date. Hepworth Decl. ¶ 23, fn. 1. In sum, Plaintiffs’

   Counsel’s fee request is well within the range of reasonableness, particularly for a

   case in which the collective’s reaction has been so positive.


   III. The Court Should Permit Payment of the Settlement Expenses From the
   Settlement Fund.


         Plaintiffs’ Counsel seeks reimbursement for litigation expenses of

   $17,694.00 from the settlement solely to compensate the TPA in this action, all

   other expenses included in those associated with the 8 depositions taken in this

   action, and sending the initial notice advising the putative collective of their ability

   opt into this action (which amounted to $16,955.65), will be taken out of Plaintiffs’

   Counsel’s fees.

         As to Plaintiffs’ Counsel's fees and expenses, “[c]ounsel for a class action is

   entitled to reimbursement of expenses that were adequately documented and

   reasonably and appropriately incurred in the prosecution of the class action.” In re

   Datatec Sys., 2007 WL 4225828, at *9 (quoting In re Safety Components, Inc. Sec.

   Litig., 166 F. Supp. 2d 72, 108 (D.N.J. 2001)); Rent- Way, 305 F. Supp. 2d at 519

   (“There is no doubt that an attorney who has created a common fund for the benefit

   of the class is entitled to reimbursement of . . . reasonable litigation expenses from
                                              31
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   that fund.”). As indicated in the Hepworth Decl. ¶ 25, counsels’ expenses are

   monies that counsel has invested at their own expense so as to meet the costs of the

   litigation. Those costs are reasonable and will be incurred in administering the

   settlement. There is no doubt that those expenses incurred to the benefit of the

   class are entitled to be reimbursed from that fund. See also In re Corel Corp. Inc.,

   293 F. Supp. 2d 484, 498 (E.D. Pa. 2003); In re SmithKline Beckman Corp. Sec.

   Litig., 751 F. Supp. 525, 534 (E.D. Pa. 1990).

         As to the TPA’s costs and expenses, as detailed in the Keough Decl. ¶ 3,

   JND has already performed significant tasks to provide notice as directed by the

   Court. Going forward, the TPA will make settlement payments, determine payroll

   taxes, and issue W-2 forms to all claimants. Keough Decl. ¶ 3. JND has estimated

   that its expenses in handling the notice and administration to completion will be no

   more than $17,694.00. Id. at 3. Based on experience, the parties believe that this

   amount is reasonable. Hepworth Decl. ¶ 2. JND has and will continue to provide

   significant benefits to the class and as such expenses have been and continue to be

   proper and reasonable, the Court should approve the requested expenses.


   IV.   CONCLUSION
         For the above reasons, Plaintiffs respectfully requests that the Court sign and

   enter the accompanying proposed order approving the settlement of this FLSA

   action.


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    Date: December 28, 2018                  Respectfully,
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